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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :        CR. NO. 21-CR-268 (CJN)
              v.                                     :
                                                     :
JEFFREY MCKELLOP,                                    :
                                                     :
                   Defendant.                        :

             CONSENT MOTION FOR EXTENSION OF TIME
 TO RESPOND TO DEFENDANT’S MOTION TO COMPEL AND GOVERNMENT’S
 MOTION FOR EXTENSION OF TIME TO RESPOND TO DEFENDANT’S MOTION
           FOR RECONSIDERATION OF PRETRIAL RELEASE

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully requests an extension of time to respond to

Defendant Jeffrey McKellop’s second Motion to Compel, ECF No. 123, and his Motion for

Reconsideration of Pretrial Release, ECF No. 125. The Government respectfully requests to

extend the time for its responses to the Motions until December 8, 2022.

       Pursuant to the pretrial scheduling order in this matter, pretrial motions are due on

December 8, 2022, with responses due December 22, 2022. ECF No. 115. On November 7,

2022, the Defendant filed the pending Motion to Compel. On November 9, 2022, counsel for the

Defendant informed counsel for the government of interest in a plea offer to resolve this case short

of trial. Counsel for the Defendant agreed to extend the deadline for the pending Motion in order

to engage in discussions regarding a pretrial disposition of this matter. The Government has

extended a plea offer and a counteroffer has been made. While the Government is working

expeditiously to complete negotiations, the Government requests an extension given the time

necessary for plea discussions to take place.

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       In the time between the filing of this Motion and discussions with counsel regarding this

Motion, the Defendant filed a Motion for Reconsideration regarding his pretrial detention, ECF

No. 125. The Government had not been informed of counsel’s intention to file the Motion for

Reconsideration. The Government inquired via email whether counsel would also agree to extend

time for the Government’s response to that Motion but at the time of filing had received no

response. The Government also requests December 8, 2022, as the deadline for its response to

the Motion for Reconsideration, ECF No. 125.

       WHEREFORE, for the foregoing reasons, which constitute good cause, and any other

reasons that this Court deems just and proper, the Government requests that its deadlines to respond

to the Defendant’s Motion to Compel and Motion for Reconsideration be extended to December

8, 2022.

                                                             Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                              By:    /s/ Mary L. Dohrmann
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                                                      /s/ Maria Y. Fedor
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